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10                                                       THE HONORABLE JAMES L. ROBART
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16
17                             UNITED STATES DISTRICT COURT
18                            WESTERN DISTRICT OF WASHINGTON
19                                   SEATTLE DIVISION
20
21
22    ZUNUM AERO, INC.,
23                                                        Case No. C21-0896JLR
24                             Plaintiff,
25                                                        STIPULATED PROTECTIVE ORDER
26             v.
27
28    THE BOEING COMPANY; BOEING
29    HORIZONX VENTURES, LLC;
30    SAFRAN, S.A.; SAFRAN CORPORATE
31    VENTURES, S.A.S.; SAFRAN
32    ELECTRICAL & POWER, S.A.S.;
33    SAFRAN HELICOPTER ENGINES,
34    SASU,
35
36                            Defendants.
37
38
39
40          The Court finds that this action may involve trade secrets and other valuable research,
41
42   development, commercial, financial, export-controlled, or technical proprietary information
43
44   that is regarded by the parties as confidential. To expedite the flow of information, to facilitate
45
46   the prompt resolution of disputes over confidentiality of discovery materials, to adequately
47



     STIPULATED PROTECTIVE ORDER –1
          Case 2:21-cv-00896-JLR Document 45 Filed 12/13/21 Page 2 of 30




 1   protect information the parties (or any nonparties) are entitled to keep confidential, to ensure
 2
 3   that only materials the parties (or nonparties) are entitled to keep confidential are subject to
 4
 5   such treatment, and to ensure that the parties are permitted reasonably necessary uses of such
 6
 7   materials in preparation for and in the conduct of trial, pursuant to Fed. R. Civ. P. 26(c), and
 8
 9   for good cause shown, it is hereby
10
11          ORDERED that the following agreed terms shall govern the production of documents
12
13   and other material in this action:
14
15   1.     Definitions
16
17              a. "Party" means any party to this action, including all of its officers, directors,
18
19                  employees, consultants, retained experts, and outside counsel (and their
20
21                  support staff).
22
23              b. "Material" means all information, documents and things produced, served or
24
25                  otherwise provided in this action by the Parties or by non-parties.
26
27              c. "CONFIDENTIAL Material" means information, documents, or things the
28
29                  Designating Party believes in good faith is not generally known to others, and
30
31                  which the Designating Party (i) would not normally reveal to third parties
32
33                  except in confidence or has undertaken with others to maintain in confidence,
34
35                  or (ii) believes in good faith is protected by a right to privacy under federal or
36
37                  state law or any other applicable privilege or right related to confidentiality or
38
39                  privacy.       Information and other Material may be designated as
40
41                  CONFIDENTIAL for purposes of this Protective Order if the Designating
42
43                  Party in good faith considers it to constitute or to contain trade secrets or other
44
45                  confidential      research,   development,     or    commercial       information.
46
47                  CONFIDENTIAL Material shall include all information, documents,



     STIPULATED PROTECTIVE ORDER –2
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 1              testimony, and things referring or relating to the foregoing, including but not
 2
 3              limited to copies, summaries, and abstracts of the foregoing, and shall be
 4
 5              designated as such in the manner described in Section 2.
 6
 7           d. "ATTORNEYS’ EYES ONLY Material" means information, documents, and
 8
 9              things the Designating Party believes in good faith is not generally known to
10
11              others and has significant competitive value such that unrestricted disclosure
12
13              to others would create a substantial risk of serious injury, and which the
14
15              Designating Party (i) would not normally reveal to third parties except in
16
17              confidence or has undertaken with others to maintain in confidence, or (ii)
18
19              believes in good faith is significantly sensitive and protected by a right to
20
21              privacy under federal or state law or any other applicable privilege or right
22
23              related to confidentiality or privacy.     The designation is reserved for
24
25              information that constitutes financial, technical or commercially sensitive
26
27              competitive or proprietary information that the Designating Party maintains as
28
29              highly confidential in its business, including information obtained from a
30
31              nonparty pursuant to a current Nondisclosure Agreement ("NDA"),
32
33              information relating to future products, strategic plans, non-public financial
34
35              data, documents that would reveal trade secrets, licensing documents and
36
37              licensing communications, and settlement agreements or settlement
38
39              communications, the disclosure of which is likely to cause harm to the
40
41              competitive position of the Designating Party. ATTORNEYS’ EYES ONLY
42
43              Material shall include all information, documents, testimony, and things
44
45              referring or relating to the foregoing, including but not limited to copies,
46
47              summaries, and abstracts of the foregoing, and shall be designated as such in



     STIPULATED PROTECTIVE ORDER –3
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 1              the manner described in Section 2. Any attorney representing a Party, whether
 2
 3              in-house or outside counsel, and any person associated with a Party and
 4
 5              permitted to receive the other Party’s ATTORNEYS’ EYES ONLY Material,
 6
 7              who obtains, receives, has access to, or otherwise learns, in whole or in part,
 8
 9              the other Party’s ATTORNEYS’ EYES ONLY Material under this Order, shall
10
11              not prepare, prosecute, or assist in the development of the technical substance
12
13              of any patent application pertaining to propulsion, powertrain, ducted
14
15              propulsors, batteries and battery packs (including supporting swap or recharge
16
17              systems), electromechanical flight control systems, flight control algorithms
18
19              with a V-tail, primary or secondary electricals, electronics, electric machines,
20
21              turbogenerators, controls, or thermal management systems (including any
22
23              related systems or sub-systems of the foregoing) for hybrid-electric or electric-
24
25              only aircraft; systems or methods for integrating hybrid-electric or electric-
26
27              only aircraft into passenger, cargo, or military transit networks; or the design,
28
29              operation, performance, production, or commercialization of hybrid-electric or
30
31              electric-only aircraft (the “Field of Invention”) during the pendency of this
32
33              Action and for one year after its conclusion, including any appeals. If, during
34
35              the course of this Action, the parties determine that discovery of additional
36
37              highly confidential or trade secret information on topics not included within
38
39              the Field of Invention will be necessary, the parties agree to meet-and-confer
40
41              to determine if this Order should be amended. Zunum expressly reserves the
42
43              right to seek further protection regarding who may have access to certain
44
45              ATTORNEYS’ EYES ONLY Material and does not, by agreeing to this
46
47              definition or this Order, waive any argument that the Field of Invention or



     STIPULATED PROTECTIVE ORDER –4
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 1              identification of who may access ATTORNEYS’ EYES ONLY Material
 2
 3              pursuant to Paragraph 8(b) below is sufficient. For purposes of this paragraph,
 4
 5              “prosecution” includes drafting, amending, or advising on the technical
 6
 7              substance of patent applications, including the scope of any patent claims.
 8
 9              Prosecution includes, for example, original prosecution and reissue. To avoid
10
11              any doubt, “prosecution” as used in this paragraph does not include
12
13              representing a party challenging a patent or patent application before a
14
15              domestic or foreign agency (including, but not limited to, a reissue protest, ex
16
17              parte reexamination, inter partes reexamination, post grant review, covered
18
19              business method patent review, or inter partes review), or representing a party
20
21              defending against such a challenge, provided that the party defending does not
22
23              move to amend applications and/or applications are not amended in the course
24
25              of that defense.
26
27           e. “EXPORT-CONTROLLED Material” shall include information that is subject
28
29              to the requirements of the Export Administration Regulations (“EAR”), 15
30
31              C.F.R. §§ 730.1 et seq., and/or the International Traffic in Arms Regulations
32
33              (“ITAR”), 22 C.F.R. §§ 120.0 et seq. Such material may be contained in
34
35              documents that a party furnishes in this case related to dual use commodities,
36
37              technology, software, or defense articles, and shall include all information,
38
39              documents, testimony, and things referring or relating to the foregoing,
40
41              including but not limited to copies, summaries, and abstracts of the foregoing,
42
43              which shall be designated as such in the manner described in Section 2.
44
45              Although the parties shall use their best efforts to designate such information
46
47              as EXPORT-CONTROLLED Material in accordance with this Order,



     STIPULATED PROTECTIVE ORDER –5
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 1              information subject to EAR and ITAR shall at all times remain EXPORT-
 2
 3              CONTROLLED Material regardless of whether such designation is made, in
 4
 5              accordance with federal law. To the extent that any Party seeks to use
 6
 7              EXPORT-CONTROLLED Material in any deposition or filing in this Action,
 8
 9              the parties agree to use reasonable efforts to cooperate to facilitate such use to
10
11              the extent consistent with all applicable laws and regulations. Such reasonable
12
13              efforts shall not obligate any Party to violate any export control laws or
14
15              regulations or otherwise subject itself to penalty for any such violation.
16
17           f. "Producing Party" means a Party or nonparty that produces Material in this
18
19              action.
20
21           g. "Receiving Party" means a Party that receives Material from a Producing Party.
22
23           h. "Designated Material" means Material that is designated "CONFIDENTIAL"
24
25              or "ATTORNEYS’ EYES ONLY" under this Order.
26
27           i. "Designating Party" means a Party or nonparty that designates information,
28
29              documents or things as "CONFIDENTIAL" or "ATTORNEYS’ EYES
30
31              ONLY."
32
33           j. "Outside Counsel" means counsel who appears on the pleadings as counsel for
34
35              a Party, employees of such counsel to whom it is reasonably necessary to
36
37              disclose the information for this litigation, including support staff employed by
38
39              the attorneys, such as paralegals, legal translators, legal secretaries, legal clerks
40
41              and shorthand reporters, or an independent legal translators retained to
42
43              translate in connection with this action, or independent shorthand reporters
44
45              retained to record and transcribe testimony in connection with this action.
46
47



     STIPULATED PROTECTIVE ORDER –6
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 1              k. "In-House Litigation Counsel" means any attorney employed by a Party in the
 2
 3                 capacity of a litigation attorney whose primary responsibility is to manage,
 4
 5                 supervise or oversee litigation as part of his or her responsibilities for the Party
 6
 7                 and who does not engage in competitive decision-making (and their support
 8
 9                 staff such as paralegals, administrative assistants and secretaries).
10
11              l. "Outside Consultant" means a person with specialized knowledge or
12
13                 experience in a matter pertinent to the litigation who has been retained by a
14
15                 Party or Outside Counsel to serve as an expert witness or as a consultant in this
16
17                 action and who is not a current or anticipated employee of a Party, or of a
18
19                 competitor of the Producing Party, or a consultant involved in product or
20
21                 process development for a competitor of the Producing Party.
22
23              m. "Professional Vendors" means persons or entities that provide litigation
24
25                 support services (e.g., photocopying; videotaping; court reporting; translating;
26
27                 designing and preparing exhibits or demonstrations; organizing, storing, or
28
29                 retrieving data in any form or medium; etc.) and their employees and
30
31                 subcontractors. This definition includes a professional jury or trial consultant
32
33                 retained in connection with this litigation and mock jurors retained by such a
34
35                 consultant to assist in that consultant's work. Professional vendors do not
36
37                 include consultants who fall within the definition of Outside Consultant.
38
39   2.     Procedure for Designating Materials
40
41              a. Documents and Other Tangible Materials
42
43          The designation of Material in the form of documents, discovery responses, or other
44
45   tangible materials other than depositions or other pre-trial testimony shall be made by the
46
47   Designating Party by conspicuously affixing the legend “CONFIDENTIAL” or



     STIPULATED PROTECTIVE ORDER –7
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 1   “ATTORNEYS’ EYES ONLY” or “EXPORT-CONTROLLED” on each page containing
 2
 3   information to which the designation applies (or in the case of computer medium on the
 4
 5   medium and its label and/or cover). To the extent practical, the legend shall be placed near
 6
 7   the Bates number identifying the Material. If a document has more than one designation, the
 8
 9   more restrictive or higher confidential designation applies.
10
11              b. Nontangible Materials
12
13          All Material designated CONFIDENTIAL or ATTORNEYS’ EYES ONLY, or
14
15   EXPORT-CONTROLLED that is not reduced to documentary, tangible, or physical form or
16
17   that cannot be conveniently designated in the manner set forth above shall be designated by
18
19   the Designating Party by informing the Receiving Party of the designation in writing.
20
21              c. Deposition Testimony and Transcripts
22
23          Any Party may designate as CONFIDENTIAL or ATTORNEYS’ EYES ONLY, or
24
25   EXPORT-CONTROLLED information that is disclosed at a deposition in this action by
26
27   indicating on the record at the deposition that the testimony is CONFIDENTIAL or
28
29   ATTORNEYS’ EYES ONLY or EXPORT-CONTROLLED and is subject to the provisions
30
31   of this Protective Order. Any Party may also designate information as CONFIDENTIAL or
32
33   ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED by notifying the court reporter
34
35   and all of the parties, in writing and within 30 days after receipt of the deposition transcript,
36
37   of the specific pages and lines of the transcript that should be treated thereafter as
38
39   CONFIDENTIAL or ATTORNEYS’ EYES ONLY or EXPORT-CONTROLLED. Each
40
41   Party shall attach a copy of such written notice or notices to the face of the transcript and each
42
43   copy thereof in his/her possession, custody, or control. All deposition transcripts shall be
44
45   treated as CONFIDENTIAL for at least a period of 30 days after receipt of the transcript,
46
47   except that such temporary designation shall not preclude the witness from reviewing the



     STIPULATED PROTECTIVE ORDER –8
          Case 2:21-cv-00896-JLR Document 45 Filed 12/13/21 Page 9 of 30




 1   transcript for purposes of making corrections thereto, and any portion of the transcript
 2
 3   designated on the record as ATTORNEYS’ EYES ONLY or EXPORT-CONTROLLED, shall
 4
 5   maintain that designation subject to the provisions of paragraph 6, below.
 6
 7   3.     Inadvertent Production
 8
 9              a. Nondesignated Material
10
11          If a Party or nonparty through inadvertence produces any CONFIDENTIAL or
12
13   ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED Material without labeling,
14
15   marking, or otherwise designating it as such in accordance with the provisions of this
16
17   Protective Order, the Designating Party or nonparty may give written notice to the Receiving
18
19   Party that the information, document, or thing produced is designated CONFIDENTIAL,
20
21   ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED and should be treated as such in
22
23   accordance with the provisions of this Protective Order. The Designating Party must provide
24
25   the Receiving Party with a replacement copy of the document or information bearing the
26
27   designation   of   CONFIDENTIAL,         ATTORNEYS’         EYES     ONLY,      or   EXPORT-
28
29   CONTROLLED within 5 business days of such written notice; the Receiving Party shall
30
31   promptly destroy or return the undesignated document or information and any copies thereof
32
33   after receiving the appropriately designated document or information. The Receiving Party
34
35   must treat such documents according to their most recent designation of CONFIDENTIAL,
36
37   ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED from the date such notice is
38
39   received. If, before receiving such notice, the Receiving Party disclosed such nondesignated
40
41   information to persons who would not have been entitled to receive it under this Protective
42
43   Order, the Receiving Party must immediately inform the Designating Party of all pertinent
44
45   facts relating to such disclosure and shall make reasonable efforts to retrieve such information
46
47   and to prevent further disclosure.



     STIPULATED PROTECTIVE ORDER –9
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 1               b. No Waiver of Privilege
 2
 3           Inspection or production of documents (including physical objects) shall not constitute
 4
 5   a waiver of the attorney-client privilege or work product immunity or any other applicable
 6
 7   privilege or immunity from discovery if, as soon as reasonably possible after the Producing
 8
 9   Party becomes aware of any inadvertent or unintentional disclosure, the Producing Party
10
11   designates any such documents as within the attorney-client privilege or work product
12
13   immunity or any other applicable privilege or immunity and requests the destruction of such
14
15   inadvertently produced documents to the Producing Party. Upon such a request, the Receiving
16
17   Party shall immediately take steps to ensure that such inadvertently produced documents are
18
19   treated as privileged or immune from discovery unless and until the Court rules otherwise and
20
21   that they are sequestered from further copying, distribution, and/or review by the Receiving
22
23   Party and its Outside Counsel, except to the limited extent necessary to establish whether the
24
25   claim of privilege or work product immunity is valid. In addition, within seven (7) days of
26
27   the Producing Party’s request, the Receiving Party must destroy all copies of such
28
29   inadvertently produced document(s) (and any other documents or things to the extent they
30
31   incorporate such privileged or immunized material), unless it first informs the Producing Party
32
33   of its intent to challenge the propriety of the attorney-client privilege or work product
34
35   immunity or other applicable privilege or immunity designation before the Court. Pursuant
36
37   to Fed. R. Evid. 502(e), once this Order is entered by the Court, this agreement shall be
38
39   binding on third parties.
40
41   4.      Material Not Covered By This Order
42
43           No Material shall be deemed CONFIDENTIAL or ATTORNEYS’ EYES ONLY if it
44
45   is Material that:
46
47               a. is in the public domain at the time of disclosure; or



     STIPULATED PROTECTIVE ORDER –10
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 1              b. becomes part of the public domain as a result of publication not involving a
 2
 3                  violation of this Protective Order; or
 4
 5              c. the Receiving Party lawfully received from a nonparty without restriction as to
 6
 7                  disclosure, provided such nonparty has the right to make the disclosure to the
 8
 9                  Receiving Party; or
10
11              d. the Receiving Party can show was independently developed by it after the time
12
13                  of disclosure by personnel who did not have access to the Producing Party’s
14
15                  CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material.
16
17   5.     Nonparty Designations
18
19          Nonparties who produce Material in this action may avail themselves of the provisions
20
21   of this Protective Order, and Material produced by nonparties shall be treated by the parties
22
23   in conformance with this Protective Order. A nonparty’s use of this Protective Order for its
24
25   CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED Material
26
27   does not entitle that nonparty to have access to CONFIDENTIAL, ATTORNEYS’ EYES
28
29   ONLY, or EXPORT-CONTROLLED Material produced by any Party in this case.
30
31   6.     Challenges to Designations
32
33          The Parties and any nonparty that produce Material pursuant to this Protective Order
34
35   shall use reasonable care when designating Material as CONFIDENTIAL, ATTORNEYS’
36
37   EYES ONLY, or EXPORT-CONTROLLED Material. Nothing in this Protective Order shall
38
39   prevent a Receiving Party from contending that any Material has been improperly designated
40
41   hereunder. If any Party disagrees with the Designating Party’s designation of any Material,
42
43   then they initially shall make every attempt to resolve the dispute without court involvement.
44
45   If they are unable to resolve such a dispute informally, the Party disagreeing with the
46
47   designation may apply to the Court for relief. The Designating Party asserting confidentiality



     STIPULATED PROTECTIVE ORDER –11
          Case 2:21-cv-00896-JLR Document 45 Filed 12/13/21 Page 12 of 30




 1   will bear the burden of proving confidentiality upon any such application. Any motion
 2
 3   regarding disputed Material or for a protective order must include a certification, in the motion
 4
 5   or in a declaration or affidavit, that the movant has engaged in a good faith meet and confer
 6
 7   conference with other affected parties in an effort to resolve the dispute without court action.
 8
 9   The certification must list the date, manner, and participants to the conference. A good faith
10
11   effort to confer requires a face-to-face meeting or a telephone conference.
12
13          Any disputed Material shall be treated in the manner designated by the Designating
14
15   Party and subject to the protection of this Protective Order unless and until the Court
16
17   determines otherwise. No Party shall be obligated to challenge the propriety of a designation,
18
19   and a failure to do so shall not constitute an admission that any Material is appropriately
20
21   designated, nor preclude a later challenge to the propriety of such designation.
22
23   7.     General Limitations on Disclosure and Use of Designated Material
24
25          CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material and the substance and
26
27   content thereof, including any notes, memoranda, or other similar documents relating thereto,
28
29   shall be used by a Receiving Party solely for the purpose of this litigation and not for any
30
31   business purpose. Any person in possession of CONFIDENTIAL or ATTORNEYS’ EYES
32
33   ONLY Material shall exercise reasonably appropriate care with regard to storage, custody, or
34
35   use of such Material to ensure that the confidential nature of the Material is maintained. If
36
37   CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material is disclosed or comes into the
38
39   possession of any person other than in a manner authorized by this Protective Order, any Party
40
41   having knowledge of the disclosure must immediately inform the Designating Party of all
42
43   pertinent facts relating to such disclosure and shall make reasonable efforts to retrieve such
44
45   Material and to prevent further disclosure.
46
47



     STIPULATED PROTECTIVE ORDER –12
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 1           In addition, the Parties have a responsibility to ensure that EXPORT-CONTROLLED
 2
 3   Material in their possession, custody or control is used in accordance with U.S. law, including
 4
 5   EAR, 15 C.F.R. §§ 730.0 et seq., or ITAR, 22 C.F.R. §§ 120.1 et seq. To prevent unauthorized
 6
 7   use of EXPORT-CONTROLLED Material, the Parties agree to follow the procedure outlined
 8
 9   in this Order.
10
11           Counsel or another individual authorized to received EXPORT-CONTROLLED
12
13   Material pursuant to the Protective Order will not disclose, export, or transfer, in any manner,
14
15   EXPORT-CONTROLLED Material to any foreign person, as defined in 20 C.F.R. § 120.16,
16
17   except as permitted by U.S. law, and will not transport any such document outside of U.S.
18
19   territory, without prior written approval of the Bureau of Industry and Security, the United
20
21   States Department of State, or other appropriate U.S. government department or agency
22
23   except as permitted by U.S. law. Use or access outside of the U.S. or by Non-U.S. persons
24
25   within the U.S. may require a license from the U.S. Department of State in accordance with
26
27   ITAR or from the U.S. Department of Commerce in accordance with the EAR. The Party
28
29   producing the documents accepts no liability on behalf of the recipient for the procurement of
30
31   or expense of such license, or in the event the recipient discloses controlled information or
32
33   violates the EAR or ITAR. Diversion of any technical data subject to the ITAR or EAR to any
34
35   (i) person, (ii) entity, (iii) country or (iv) any entity located or incorporated in a country, that
36
37   is on any denied party list or list of sanctioned countries, pursuant to either the EAR, ITAR or
38
39   any regulations and orders administered by the Treasury Department’s Office of Foreign
40
41   Assets Control Regulations (31 C.F.R. Chapter V) is prohibited.
42
43
44
45
46
47



     STIPULATED PROTECTIVE ORDER –13
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 1   8.     Access to Designated Material
 2
 3              a. Access to CONFIDENTIAL Material
 4
 5          Unless otherwise ordered by the Court or permitted in writing by the Designating
 6
 7   Party, a Receiving Party may disclose information, documents, or things designated as
 8
 9   "CONFIDENTIAL" only to the following persons and persons identified in Section 8(g)
10
11   below regarding use of Designated Material at depositions:
12
13                     i. The Court and its personnel, including court reporters and the jury.
14
15                     ii. Mediators, arbitrators, and such of their staff as may be necessary for
16
17                         the conduct of the mediation or arbitration.
18
19                    iii. Outside Counsel for each Party, as well as paralegals, administrative
20
21                         assistants, secretaries, and other members of the clerical and
22
23                         administrative staff ("Support Staff") who work for such counsel and
24
25                         whose     functions    require   access     to   Material    designated
26
27                         CONFIDENTIAL.
28
29                    iv. In-House Litigation Counsel for each Party and Support Staff who
30
31                         work for such counsel and whose functions require access to Material
32
33                         designated CONFIDENTIAL.
34
35                     v. Outside Consultants with whom counsel deem it necessary to consult
36
37                         concerning technical, financial, or other aspects of this case to prepare
38
39                         for trial. HOWEVER, no Material designated as CONFIDENTIAL
40
41                         shall be disclosed by a Receiving Party to an Outside Consultant until
42
43                         the Outside Consultant has signed and returned to the Receiving Party's
44
45                         Outside Counsel the Confidentiality Agreement attached hereto as
46
47                         Exhibit A, declaring that he or she has read and understands this



     STIPULATED PROTECTIVE ORDER –14
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 1                   Protective Order and agrees to be bound by its terms. The Receiving
 2
 3                   Party's Outside Counsel shall retain the written Confidentiality
 4
 5                   Agreement for the duration of the litigation.
 6
 7               vi. Employees, officers, and directors of a Receiving Party who are
 8
 9                   involved in maintaining, defending, or evaluating this litigation (and
10
11                   supporting personnel).    HOWEVER, no document designated as
12
13                   CONFIDENTIAL shall be disclosed to an employee, officer, or
14
15                   director of a Receiving Party until such individual has signed and
16
17                   returned to the Receiving Party's Outside Counsel the Confidentiality
18
19                   Agreement attached hereto as Exhibit A, thereby declaring that he or
20
21                   she has read and understands this Protective Order and agrees to be
22
23                   bound by its terms. The Receiving Party's Outside Counsel shall retain
24
25                   such written Confidentiality Agreement for the duration of the
26
27                   litigation.
28
29               vii. Professional Vendors with whom counsel deem it necessary to engage
30
31                   in order to obtain copies of Material designated CONFIDENTIAL as
32
33                   reasonably necessary for maintaining, defending, or evaluating this
34
35                   litigation. Before disclosing any protected information to any person
36
37                   or service described in this paragraph, Outside Counsel for the
38
39                   Receiving Party shall first obtain from such person or service a written
40
41                   Confidentiality Agreement, in the form attached hereto as Exhibit A.
42
43                   The Receiving Party's Outside Counsel shall retain such written
44
45                   Confidentiality Agreement for the duration of the litigation.
46
47              viii. Any other person as to whom the Designating Party agrees in writing.



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 1              b. Access to ATTORNEYS’ EYES ONLY Material
 2
 3          Unless otherwise ordered by the Court or permitted in writing by the Designating
 4
 5   Party, a Receiving Party may disclose any information, document or things designated as
 6
 7   "ATTORNEYS’ EYES ONLY" only to the following persons and persons identified in
 8
 9   Section 8(g) below regarding use of Designated Material at depositions:
10
11                      i. The Court and its personnel, including court reporters and the jury.
12
13                     ii. Mediators, arbitrators, and such of their staff as may be necessary for
14
15                         the conduct of the mediation or arbitration.
16
17                    iii. Outside Counsel for each Party and Support Staff who work for such
18
19                         counsel and whose functions require access to Material designated
20
21                         ATTORNEYS’ EYES ONLY, consistent with the limitations in
22
23                         Paragraph 1(d).
24
25                    iv. In-House Counsel for each Party and Support Staff who work for such
26
27                         counsel and whose functions require access to Material designated
28
29                         ATTORNEYS’ EYES ONLY, consistent with the limitations in
30
31                         Paragraph 1(d).
32
33                     v. Outside Consultants with whom counsel deem it necessary to consult
34
35                         concerning technical, financial, or other aspects of this case to prepare
36
37                         for trial. An Outside Consultant's access to ATTORNEYS’ EYES
38
39                         ONLY Material shall be subject to all the terms and limitations
40
41                         provided for in Section 8(a)(v) above.
42
43                    vi. Professional Vendors with whom counsel deem it necessary to engage
44
45                         in order to obtain copies of Material designated ATTORNEYS’ EYES
46
47                         ONLY as reasonably necessary for maintaining, defending, or



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 1                          evaluating this litigation. Before disclosing any protected information
 2
 3                          to any person or service described in this paragraph, Outside Counsel
 4
 5                          for the Receiving Party shall first obtain from such person or service a
 6
 7                          written Confidentiality Agreement, in the form attached hereto as
 8
 9                          Exhibit A. The Receiving Party's Outside Counsel shall retain such
10
11                          written Confidentiality Agreement for the duration of the litigation.
12
13                     vii. Any other person as to whom the Designating Party agrees in writing.
14
15              c. Access to EXPORT-CONTROLLED Material
16
17          The Parties have a responsibility to ensure that access to EXPORT-CONTROLLED
18
19   Material in their possession, custody or control is restricted to authorized persons in
20
21   accordance with U.S. law, including EAR, 15 C.F.R. §§ 730.0 et seq., and/or ITAR, 22 C.F.R.
22
23   §§120.1 et seq., including but not limited to disclosure to outside counsel, experts, consultants,
24
25   and any staff supporting the same. To prevent unauthorized access of EXPORT-
26
27   CONTROLLED Material, the Parties agree to follow the procedure outlined in this paragraph.
28
29                  (i) All physical documents containing EXPORT-CONTROLLED Material
30
31          shall be placed in a secure file or room with access limited to those U.S. Persons (as
32
33          that term is defined in 22 C.F.R. § 120.15) who are permitted by this Protective Order
34
35          to access CONFIDENTIAL Material (or ATTORNEYS’ EYES ONLY Material, if
36
37          applicable).
38
39                  (ii) If documents containing Export-Controlled Material are scanned and stored
40
41          in a computer or loaded to a document review platform or software, access to such
42
43          electronic files shall be restricted and limited to those U.S. Persons (as that term is
44
45          defined in 22 C.F.R. § 120.15) who are permitted by this Protective Order to access
46
47          CONFIDENTIAL Material (or ATTORNEYS’ EYES ONLY Material, if applicable).



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 1              d. Exceptions to Limitations on Disclosure
 2
 3          Nothing herein shall prevent disclosure of CONFIDENTIAL or ATTORNEYS’ EYES
 4
 5   ONLY Material: (a) by the Designating Party to anyone else; (b) by the Receiving Party to
 6
 7   an officer or employee of the Designating Party; (c) by a Party to any person, whether or not
 8
 9   affiliated with the Designating Party at the time of disclosure, who either authored the
10
11   CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material, in whole or in part, or who has
12
13   independently received the CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material other
14
15   than through a means constituting a breach of this Protective Order or any other obligation of
16
17   confidentiality; or (d) to any person who is expressly identified as previously having had
18
19   access to the CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material, which
20
21   identification is made by the sworn testimony of another or unambiguously appears on the
22
23   face of a document, and other than through a means constituting breach of this Protective
24
25   Order or any other obligation of confidentiality.
26
27              e. Filing Under Seal of CONFIDENTIAL Material or ATTORNEYS’ EYES
28                 ONLY Material
29
30          Any Party or third-party discovery respondent ("Filing Party") seeking to file with the
31
32   Court a document that contains CONFIDENTIAL Material or ATTORNEYS’ EYES ONLY
33
34   Material shall, pursuant to the Western District of Washington Civil Rules and Judge Robart’s
35
36   Chambers Procedures, move to obtain the Court's permission to file that document under seal.
37
38   The Filing Party shall comply with all procedures ordered by the Court with respect to such
39
40   motions, but under no circumstances shall the Filing Party file the document not under seal
41
42   prior to the Court's ruling on the motion to seal. If any Filing Party fails to file Designated
43
44   Material under seal, the Designating Party or any Party claiming confidentiality for the
45
46
47



     STIPULATED PROTECTIVE ORDER –18
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 1   Designated Material may move the Court to place the filing under seal in accordance with
 2
 3   Western District of Washington Civil Rules and Judge Robart’s Chambers Procedures.
 4
 5            The Parties agree to cooperate with respect to any motion seeking leave to seal any
 6
 7   Designated Material, and it shall be the Designating Party’s burden to justify the need to seal
 8
 9   the Designated Material. In the event that the Court denies a motion seeking leave to seal any
10
11   Designated Material, the Receiving Party shall be free to file the Designated Material without
12
13   sealing.
14
15               f. Filing Under Seal of EXPORT-CONTROLLED Material
16
17   Before filing EXPORT-CONTROLLED Material or discussing or referencing such material
18
19   in Court filings, the Filing Party shall confer with the Designating Party to determine whether
20
21   the Designating Party will remove the EXPORT-CONTROLLED designation, whether the
22
23   document can be redacted, or whether a motion to seal or stipulation and proposed order is
24
25   warranted. During the meet and confer process, the Designating Party must identify the basis
26
27   for sealing the specific EXPORT-CONTROLLED Material at issue, and the Filing Party shall
28
29   include this basis in its motion to seal, along with any objection to sealing the information at
30
31   issue.
32
33               g. Use at Depositions
34
35                       i. Except as otherwise ordered by the Court, any deposition or trial
36
37                          witness may be examined and may testify concerning all
38
39                          CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material of which
40
41                          such person has prior knowledge. Before introducing, referencing, or
42
43                          discussing   any    EXPORT-CONTROLLED              Material   during   a
44
45                          deposition, the Party taking the deposition shall confer with the
46
47                          Designating Party and shall not proceed to use such EXPORT-



     STIPULATED PROTECTIVE ORDER –19
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 1                   CONTROLLED Material during the deposition without first obtaining
 2
 3                   the Designating Party’s consent in writing or on the record at the
 4
 5                   deposition.   Without in any way limiting the generality of the
 6
 7                   foregoing:
 8
 9                      1. A present director, officer, and/or employee of a Producing
10
11                          Party may be examined and may testify concerning all
12
13                          CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material
14
15                          that has been produced by that Party.
16
17                      2. A former director, officer, and/or employee of a Producing
18
19                          Party may be interviewed, examined, and may testify
20
21                          concerning all CONFIDENTIAL or ATTORNEYS’ EYES
22
23                          ONLY Material of which such person has prior knowledge,
24
25                          including any Designated Material that refers to matters of
26
27                          which the witness has personal knowledge, which has been
28
29                          produced by that Party, and which pertains to the time period or
30
31                          periods of such witness's employment or service.
32
33                      3. Nonparties may be examined or testify concerning any
34
35                          document containing CONFIDENTIAL or ATTORNEYS’
36
37                          EYES ONLY Material of a Producing Party that appears on its
38
39                          face or from other documents or testimony to have been
40
41                          received from, or communicated to, the nonparty as a result of
42
43                          any contact or relationship with the Producing Party or a
44
45                          representative of such Producing Party. Any person other than
46
47                          the witness, his or her counsel, and any person qualified to



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 1                          receive CONFIDENTIAL or ATTORNEYS’ EYES ONLY
 2
 3                          Material under this Protective Order shall be excluded from the
 4
 5                          portion of the examination concerning such Material, absent the
 6
 7                          consent of the Designating Party. If the witness is represented
 8
 9                          by an attorney who is not qualified under this Protective Order
10
11                          to receive CONFIDENTIAL or ATTORNEYS’ EYES ONLY
12
13                          Material, then prior to the examination, the attorney shall
14
15                          provide a signed Confidentiality Agreement, in the form
16
17                          attached hereto as Exhibit A, declaring that he or she will
18
19                          comply with the terms of this Protective Order and maintain the
20
21                          confidentiality of all CONFIDENTIAL or ATTORNEYS’
22
23                          EYES ONLY Material disclosed during the course of the
24
25                          examination. If such attorney declines to sign a Confidentiality
26
27                          Agreement before the examination, the Parties, by their
28
29                          attorneys, shall jointly seek a protective order from the Court
30
31                          prohibiting that attorney from disclosing CONFIDENTIAL or
32
33                          ATTORNEYS’ EYES ONLY Material disclosed during the
34
35                          deposition.
36
37                ii. In addition to the restrictions on the uses of all types of
38
39                   CONFIDENTIAL or ATTORNEYS’ EYES ONLY Material set forth
40
41                   in this Protective Order, the following shall apply to CONFIDENTIAL
42
43                   or ATTORNEYS’ EYES ONLY Material used at a deposition:
44
45                      1. A witness who previously had access to a document designated
46
47                          CONFIDENTIAL or ATTORNEYS’ EYES ONLY, but who is



     STIPULATED PROTECTIVE ORDER –21
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 1                                 not under a present nondisclosure agreement with the
 2
 3                                 Producing Party that applies to the Designated Material, may be
 4
 5                                 shown the document at a deposition if (1) a copy of this
 6
 7                                 Protective Order is attached to any subpoena, notice, or request
 8
 9                                 served on the witness for the deposition, and (2) the witness is
10
11                                 advised on the deposition record of the existence of the
12
13                                 Protective Order and its requirement that the Parties keep
14
15                                 confidential any questions, testimony, or documents that are
16
17                                 designated CONFIDENTIAL or ATTORNEYS’ EYES ONLY,
18
19                                 and the witness agrees to the same by executing Exhibit A.
20
21                             2. Witnesses, other than an employee or agent of a Party
22
23                                 authorized to receive the Designated Material pursuant to this
24
25                                 Protective Order, may not copy, take notes on, or retain copies
26
27                                 of any CONFIDENTIAL or ATTORNEYS’ EYES ONLY
28
29                                 Material used or reviewed at a deposition. A witness may not
30
31                                 take out of the deposition room any exhibit that is marked
32
33                                 CONFIDENTIAL or ATTORNEYS’ EYES ONLY. .
34
35   9.     Stipulations or Additional Relief from the Court; Rights Reserved
36
37          The Parties may, by stipulation or other agreement on the record or in writing, provide
38
39   for exceptions to this Protective Order. Nothing in this Protective Order shall be deemed to
40
41   preclude any Party from seeking and obtaining, on an appropriate showing, additional
42
43   protection with respect to the confidentiality of Material or relief from this Protective Order
44
45   with respect to particular Material designated as CONFIDENTIAL, ATTORNEYS’ EYES
46
47   ONLY, or EXPORT-CONTROLLED. Nothing in this Protective Order shall be deemed to



     STIPULATED PROTECTIVE ORDER –22
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 1   prejudice the rights of the Parties to object to the production of documents they consider not
 2
 3   subject to discovery except where such objection is based solely on the confidentiality of such
 4
 5   documents. Nothing in this Protective Order shall operate as an admission by the Receiving
 6
 7   Party that any particular CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-
 8
 9   CONTROLLED document or information contains or reflects trade secrets, proprietary, or
10
11   any other type of confidential matter. This Protective Order shall not supersede, waive,
12
13   amend, modify, or render null any prior confidentiality or nondisclosure agreement or
14
15   obligation entered into by the Parties.
16
17   10.     Destruction or Return of Documents at the End of Litigation
18
19              a. General Obligation to Destroy CONFIDENTIAL, ATTORNEYS’ EYES
20                 ONLY, and EXPORT-CONTROLLED Material at the End of Litigation
21
22           Within sixty days after entry of a final, nonappealable judgment or order, expiration
23
24   of the deadline for any party to appeal an appealable judgment or order, or the complete
25
26   settlement of all claims asserted against all Parties in this action, each Party shall: (i) destroy
27
28   all Material received from the Producing Party that is designated CONFIDENTIAL
29
30   ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED unless the Producing Party
31
32   requested that certain Material be returned rather than destroyed; and (ii) destroy in whatever
33
34   form stored or reproduced, all other physical objects and documents (including but not limited
35
36   to correspondence, memoranda, notes, and other work product materials) that contain or refer
37
38   to CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED Material;
39
40   provided, however, that Outside Counsel shall be entitled to maintain for its files copies of all
41
42   attorney work product and pleadings, motions, and trial briefs (including all supporting and
43
44   opposing papers and exhibits thereto), written discovery requests and responses (and exhibits
45
46   thereto), deposition transcripts (and exhibits thereto), trial transcripts, and exhibits offered or
47



     STIPULATED PROTECTIVE ORDER –23
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 1   introduced into evidence at trial. Each Party will provide reasonable confirmation and
 2
 3   assurance of their compliance with this paragraph upon request.
 4
 5              b. Obligation to Retrieve CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or
 6                 EXPORT-CONTROLLED Material Disclosed to Others
 7
 8           Each Party's obligation to return or destroy CONFIDENTIAL ATTORNEYS’ EYES
 9
10   ONLY, or EXPORT-CONTROLLED Material received from another Party extends to any
11
12   CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED Material the
13
14   Receiving Party disclosed to others pursuant to this Protective Order. Within sixty days after
15
16   entry of a final, nonappealable judgment or order, expiration of the deadline for any party to
17
18   appeal an appealable judgment or order, or the complete settlement of all claims asserted
19
20   against all Parties in this action, each Receiving Party shall inform any Producing Party in
21
22   writing of: (i) any CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-
23
24   CONTROLLED Material (and any documentary materials containing information derived
25
26   from CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED
27
28   Material) that, to the Party's knowledge, has not been returned and/or destroyed in the manner
29
30   required by this Protective Order; and (ii) the identity of any person who has failed to return
31
32   or destroy such CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-
33
34   CONTROLLED Material or derivative material.
35
36   11.     Survival of Order and Retention of Jurisdiction
37
38           The terms of this Protective Order shall survive the final termination of this action to
39
40   the extent that any CONFIDENTIAL, ATTORNEYS’ EYES ONLY, or EXPORT-
41
42   CONTROLLED Material is not or does not become known to the public. This Court shall
43
44   retain jurisdiction over this action for the purpose of enforcing this Protective Order. The
45
46   Parties agree that any order of dismissal of the Action as to any or all Parties shall include
47



     STIPULATED PROTECTIVE ORDER –24
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 1   specific provision that the Court retains jurisdiction to enforce the terms of this Protective
 2
 3   Order following dismissal. Each Party hereby consents to the personal jurisdiction of the
 4
 5   Court for that purpose.
 6
 7   12.     Treatment Prior to Entry of Order
 8
 9           Each Party agrees to be bound by the terms of this Protective Order as of the date it
10
11   executes the Order below, even if prior to entry of the Order by the Court.
12
13   13.     Protected Material Subpoenaed or Ordered Produced in Other Litigation
14
15           If a Receiving Party is served with a subpoena or a court order that would compel
16
17   disclosure of any information, documents or things designated in this action as
18
19   “CONFIDENTIAL,” “ATTORNEYS’ EYES ONLY,” or “EXPORT-CONTROLLED,” then
20
21   the Receiving Party must promptly—and in no event more than ten (10) calendar days after
22
23   Receiving the subpoena or order—notify the Designating Party. Such notification must
24
25   include a copy of the subpoena or order. The Receiving Party also must immediately inform
26
27   in writing the person who caused the subpoena or order to issue that some or all the material
28
29   covered by the subpoena or order is the subject of this Protective Order. In addition, the
30
31   Receiving Party must deliver a copy of this Stipulated Protective Order promptly to the person
32
33   in the other action that caused the subpoena or order to issue. The purpose of imposing these
34
35   duties is to alert the interested persons to the existence of this Protective Order and to afford
36
37   the Designating Party in this case an opportunity to try to protect its confidentiality interests
38
39   in the court from which the subpoena or order issued. The Designating Party shall bear the
40
41   burdens and the expenses of seeking protection in that court of its CONFIDENTIAL,
42
43   ATTORNEYS’ EYES ONLY, or EXPORT-CONTROLLED Material. Nothing in these
44
45   provisions should be construed as authorizing or encouraging a Receiving Party in this action
46
47   to disobey a lawful directive from another court.



     STIPULATED PROTECTIVE ORDER –25
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 1
 2
 3        SO ORDERED this 13th day of December, 2021.
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 5
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10
                                         A
                                         James L. Robart
11                                       United States District Judge
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     STIPULATED PROTECTIVE ORDER –26
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 1   STIPULATED AND AGREED TO:
 2
 3   s/ Susan Foster                        s/ Eliot M. Harris
 4   Susan Foster, WSBA #18030              Eliot M. Harris, WSBA #36590
 5   s/ David Perez                         WILLIAMS, KASTNER & GIBBS PLLC
 6   David Perez, WSBA #43959               601 Union Street, Suite 4100
 7
 8
     s/ Ian Rogers                          Seattle, WA 98101-2380
 9   Ian Rogers, WSBA #46584                Tel: (206) 628-6600
10   PERKINS COIE LLP                       Fax: (206) 628-6611
11   1201 Third Avenue, Suite 4900          Email: eharris@williamskastner.com
12   Seattle, WA 98101-3099
13   Tel: (206) 359-8000                    Colin R. Hagan, MA BBO #684798
14
     Fax: (206) 359-9000                    (admitted pro hac vice)
15
16   Email: sfoster@perkinscoie.com         David J. Shlansky, MA BBO #565321
17           dperez@perkinscoie.com         (admitted pro hac vice)
18           irogers@perkinscoie.com        SHLANSKY LAW GROUP, LLP
19                                          1 Winnisimmet Street
20   Matthew A. Kairis (TX Bar #24117376)   Chelsea, MA 02150
21   JONES DAY                              Tel: (617) 492-7200
22
     (admitted pro hac vice)                Email: colin.hagan@slglawfirm.com
23
24   2727 North Harwood Street, Suite 500          david.shlansky@slglawfirm.com
25   Dallas, TX 75201
26   Tel: (214) 220-3939                    Attorneys for Plaintiff
27   Email: makairis@jonesday.com           Zunum Aero, Inc.
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     JONES DAY
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 1   Dustin M. Koenig (OH Bar #0092426)
 2   JONES DAY
 3   (admitted pro hac vice)
 4   325 John H. McConnell Boulevard, Suite 600
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 6
     Columbus, OH 43215
 7   Tel: (614) 469.3939
 8   Email: dkoenig@jonesday.com
 9
10   Attorneys for Defendants
11   The Boeing Company and
12
     Boeing HorizonX Ventures, LLC
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     STIPULATED PROTECTIVE ORDER –28
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 1                                         EXHIBIT A
 2
 3
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11                                                 THE HONORABLE JAMES L. ROBART
12
13
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16
17
18                           UNITED STATES DISTRICT COURT
19                          WESTERN DISTRICT OF WASHINGTON
20                                 SEATTLE DIVISION
21
22   ZUNUM AERO, INC.,
23                                                  Case No. C21-0896JLR
24                           Plaintiff,
25                                                  ACKNOWLEDGMENT AND
26             v.                                   AGREEMENT TO BE BOUND BY
27                                                  PROTECTIVE ORDER
28   THE BOEING COMPANY; BOEING
29   HORIZONX VENTURES, LLC;
30   SAFRAN, S.A.; SAFRAN CORPORATE
31   VENTURES, S.A.S.; SAFRAN
32   ELECTRICAL & POWER, S.A.S.;
33   SAFRAN HELICOPTER ENGINES,
34   SASU,
35
36                         Defendants.
37
38
39
40        I, _________________, state that:
41
42        1.        My address is ___________________________.
43
44        2.        My present employer is ________________________.
45
46        3.        My present occupation or job description is _______________________.
47



     STIPULATED PROTECTIVE ORDER –29
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 1          4.      I have received a copy of the Stipulated Protective Order entered in this case
 2
 3   on _______________, 20__, and declare under penalty of perjury that I have carefully read
 4
 5   and understand its contents and confidentiality requirements. I will not divulge any
 6
 7   information or other Materials designated as "CONFIDENTIAL" or "ATTORNEYS’ EYES
 8
 9   ONLY" to any persons other than those specifically authorized by said Order to receive such
10
11   Materials.
12
13          5.      I consent to be subject to the jurisdiction and authority of this Court in the
14
15   event of any violation of this agreement or any dispute related to this agreement, including
16
17   any proceedings relating to contempt of Court.
18
19          DATED this _____ day of ____________, 20__.
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26                                                 [Typed Name]
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     STIPULATED PROTECTIVE ORDER –30
